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14
                                       UNITED STATES DISTRICT COURT
15
                                     EASTERN DISTRICT OF CALIFORNIA
16

17   Y.G.H.,                                              CASE NO. 1:25-CV-435-KES-SKO
                            Petitioner-Plaintiff,
18
                             v.                           ORDER SEALING DOCUMENTS AS SET FORTH
19                                                        IN GOVERNMENT’S NOTICE

20   DONALD J. TRUMP, et al.,

21                          Respondents-Defendants.

22
            Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
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     request to seal, IT IS ORDERED that the government’s declaration in response to the Court’s May 7,
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     2025 minute order, Doc. 30, and Government’s request to seal shall be SEALED until further order of
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     this Court.
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            It is further ordered that access to the sealed documents shall be limited to the Government and
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     counsel for the petitioner.
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 1          The Court has considered the factors set forth in respondents’ request. The Court finds that, for

 2 the reasons stated in the government’s request, sealing the government’s motion serves a compelling

 3 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the

 4 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 5 that there are no additional alternatives to sealing the government’s motion that would adequately

 6 protect the compelling interests identified by the government.

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 8 IT IS SO ORDERED.

 9      Dated:     May 19, 2025
                                                         UNITED STATES DISTRICT JUDGE
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